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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION



 RESONANT SYSTEMS, INC. d/b/a
 RevelHMI,
                                                  Case No. 2:22-cv-00424-JRG
                  Plaintiff,
             v.

 SONY GROUP CORPORATION and SONY
 INTERACTIVE ENTERTAINMENT INC.,

                  Defendants.



   DEFENDANT SONY INTERACTIVE ENTERTAINMENT INC.’S RESPONSES TO
            RESONANT SYSTEMS, INC.’S MOTIONS IN LIMINE




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I.      RESPONSE TO RESONANT MOTION IN LIMINE NO. 1: Any Objections
        Regarding References To Adult Products Can And Should Be Addressed At Trial.

        A motion in limine is designed “to ensure that testimony is not revealed to the jury that is

so prejudicial that even a subsequent instruction to disregard cannot undo the damage.” Sanchez

v. Davis, 888 F.3d 746, 751 (5th Cir. 2018). Resonant’s MIL No. 1 fails to satisfy that standard.

To the contrary, the fact that Resonant’s motion is directed to only what it characterizes as

“unnecessary” or “gratuitous” references to adult products is a concession that some references

to adult products will be relevant to the issues in this case. To be clear, SIE Inc. does not intend

to introduce any gratuitous or unnecessary argument or evidence at trial regarding this topic or

any other. And SIE Inc. certainly does not intend to present any evidence regarding pornography

or adult films. But the appropriate way to address Resonant’s stated concerns is through

evidentiary objections at trial, not by allowing Resonant to present a whitewashed portrayal of its

company’s history and products.

        Contrary to Resonant’s suggestion, the undisputed fact is that before it filed this and other

lawsuits alleging patent infringement, Resonant operated for several years in the adult sexual

wellness industry and sold vibrators. Resonant’s marketing materials, its USPTO filings, and

Resonant CEO Robin Elenga’s own public statements are replete with references to “vibrators,”

“sex toys” and “sexual wellness.” For example, Resonant’s own website stated that Mr. Elenga

started the business based on “an epiphany about the vibrator industry” and the company’s “How

we got started” webpage uses the terms “sexual vibrator” and “sexual wellness” to describe its

product line and company history. Ex. 1 at 1.; Ex. 2 at 1-2. See also, Ex. 3 at 1 (RevelBody

Company Fact Sheet describing its “sexual wellness products”); Ex. 4 at 1, 25 (



                        ). Indeed, the provisional application identified on the face of the


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Asserted Patents—which is the basis for Resonant’s priority claim in this case—is titled “Linear

Vibrating Motor For Sex Toy” and includes statements such as: “This patent covers several

variations of a linear resonating vibration motor primarily for use in adult sex toys.” Ex. 5 at

SONY_00007974, 78, 83; see also, Ex. 6, Elenga Dep. Tr. 185:13 – 186:20. Moreover, there is

a significant dispute between the parties regarding whether Resonant’s vibrator products—such

as the Revel Body product—should have been marked with the Asserted Patents. As a result,

terms such as “sex toy” or “vibrator” are invariably going to be used in connection with

testimony and evidence regarding Resonant’s company history, its commercial products, the

conception and reduction to practice of the alleged inventions in the Asserted Patents, and the

issue of damages. See, e.g., Ex. 7. Welch Reb. Rep. ¶¶ 227-234; Ex. 8. Welch Inv. Rep. ¶¶ 679-

680, 684-685. Precluding argument and evidence regarding these substantive issues on the basis

that they are “unnecessary” or “gratuitous” references to adult products would be prejudicial to

SIE Inc. Any concerns Resonant has can and should be raised via evidentiary objections at the

appropriate time. See Baker v. City of McKinney, Texas, 608 F. Supp. 3d 457, 461 (E.D. Tex.

2022) (“Evidentiary rulings, especially those addressing broad classes of evidence, should often

be deferred until trial so that questions of foundation, relevancy and potential prejudice can be

resolved in proper context.”) (internal citations omitted).

        Resonant’s motion to exclude the term “vibrator” from trial fails for the same reasons.

Indeed, the evidence described above confirms that Resonant and its CEO have referred to

Resonant’s line of products as “vibrators” or “sex toys” for years. In fact, contrary to Resonant’s

representations, the voluminous record indicates that Resonant and its CEO rarely, if ever, used

the term “personal massager” to describe its products or the industry in which it operated until it

stopped producing sexual vibrators and focused on patent litigation. See, e.g., Ex. 6 Elenga Dep.



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Tr. at 135:2-15 (“Q: Is that one of…the reasons you thought to use similar resonating technology

in a vibrator? …A: [I]f you look at where vibrators are used and the market share of vibration

motors, sex toys—and personal massagers is probably a better term—it’s a big part of the

market.”). Indeed, even after it stopped marketing the Revel Body vibrators, Mr. Elenga

continued to refer to Resonant’s business as being within the “sex toy market.” See Ex. 9 at 3

(“[W]hen our sex toy factory shut down on us, we were able to pivot[.] …I think we will make

more money in the sex toy market providing motors than we would have with Revel Body.”).

        Finally, Resonant’s motion should be denied because it has failed to articulate any

objective standard to distinguish “unnecessary” or “gratuitous” references to adult products from

the undeniably relevant issues in this case. See Ogden v. Cozumel, Inc., No. A-18-CV-00358-

DAE-SH, 2019 WL 5295495, at *1 (W.D. Tex. Oct. 18, 2019) (“[T]he purpose of motions in

limine is…to identify specific issues which are likely to arise at trial[.]”) (emphasis in the

original, internal citations omitted). Nor has Resonant made any effort to explain why such

references would cause Resonant irreversible prejudice or harm in the eyes of the jury. Resonant

is free to make appropriate evidentiary objections during trial but the Court should deny

Resonant’s motion in limine.

II.     RESPONSE TO MOTION IN LIMINE NO. 2: Both Parties Are Subject To Standing
        MIL Order No. 9 Precluding References To Theft, Copying, Or Misappropriation.

        As counsel for SIE Inc. advised Resonant’s counsel during the pre-filing meet and confer

process, SIE Inc. does not oppose this motion and does not intend to present any evidence or

argument that Resonant’s CEO, Mr. Elenga, stole or misappropriated any technology or

intellectual property. Indeed, the Court’s Standing MIL Order No. 9 explicitly precludes both

parties from presenting evidence or argument that characterizes any other person or entity’s




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actions as “stealing,” “copying,” “misappropriating,” “pirating,” “trespassing,” or any similar

terms.1

          Pursuant to Court Standing MIL Order No. 9, Resonant should likewise be precluded

from any argument, testimony, or evidence that SIE Inc. or any other Sony entity copied, stole or

misappropriated technology or intellectual property. For example, Mr. Elenga stated during his

deposition that when he saw a teardown of the accused Sony PS5 controller’s motor, he was

“

                                                          . Ex. 6, Elenga Dep. Tr. 205:7-207:5. Mr.

Elenga also speculated that if Sony “




                  ” Ex. 6, 203:1-7. In addition to being speculative, irrelevant, and prejudicial, any

such testimony would only be introduced to support a suggestion that SIE Inc. or some other

Sony entity copied Resonant’s product and should likewise be excluded under the Court’s

Standing MIL Order No. 9. Simply put, both parties should be precluded from introducing any

argument or evidence that any individual or entity stole, copied, or misappropriated any

intellectual property or technology.

III.      RESPONSE TO MOTION IN LIMINE NO. 3: SIE Inc. Does Not Intend To Present
          Evidence Or Argument Regarding New Or Successor Sony Products.

          As counsel for SIE Inc. advised Resonant’s counsel during the pre-filing meet and confer

process, SIE Inc. does not intend to present evidence or argument regarding new or successor


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  SIE Inc. notes that it has asserted an inequitable conduct defense based on the applicant’s
failure to disclose certain prior art during prosecution. SIE Inc. understands that the Court will
resolve that issue post-trial issue and that any evidence related to inequitable conduct will not be
presented to the jury. In any event, SIE Inc.’s inequitable conduct defense is not based on any
allegations that Mr. Elenga stole or misappropriated technology or intellectual property.

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products that have never been a part of this case. Based on Resonant’s representation that

nothing in its motion will preclude Sony’s experts from “testify[ing] about the opinions

expressed in their reports,” SIE Inc. does not oppose this motion.


 Dated: October 28, 2024                    Respectfully submitted,

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             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that Defendant is authorized to file this document and related exhibits

under seal pursuant to the Protective Order and Local Rule CV-5(a)(7) because they contain

confidential material.

                                              /s/Richard Mulloy
                                              Richard Mulloy


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on October 28, 2024 to all counsel of record via electronic email.

                                              /s/ Richard Mulloy
                                              Richard Mulloy




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